Case: 2:17-cv-00006-CDP Doc. #: 129 Filed: 01/28/19 Page: 1 of 2 PageID #: 3176



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                NORTHERN DIVISION
ROBERT G. MONGLER,
       A Resident of Missouri;
       Plaintiff,
v.                                                           Case No.2:17-CV-6 CDP
BRIAN KNIGHT, a Resident, of Illinois;
MICHAEL LOPRIENO, a Resident of Illinois, .·
CAPGAIN PROPERTIES, INC., FORMERLY
       NAMED BIG MOJO CAPITAL, INC., A Canadian
       Corporation:,· Principal Place of Business Illinois;-
CAPGAIN HOLDINGS, INC., FORMERLY NAMED
       CAPGAIN PROPERTIES,'INC., A Canadian Corporation,
       Principal Plac¥ of Business Illinois;
STRATEGIC LENDING SOLUTIONS, LLC
       An Illinois Limited Liability Company, Principal Place of
       Business Illinois;
LOP CAPITAL, LLC,
       A New Mexico Limited Liability Company,
    - Principal Place of Business Illinois;
CONSULTING DIRECT, INC.,
       A Delaware Corporation,
       Principal Place of Business Oregon; and
TY KIRKPATRICK, a Resident of Oregon.
     · Defendants. ·
                                                                        I


  ORDER GRANTING PLAINTiFF'S MOTION TO VACATE FINAL JUDGMENT
     AND DISMISS WITH PREJUDICE AS TO CAPGAIN PROPERTIES, INC.
           FORMERLY NAMED BIG MOJO CAPITAL INC., ONLY

       This Case having come before the Court upon Plaintiff Robert G. Mongler's Motion

to vacate the Final Judgment rendered April 6, 2018, Doc. 107, and to dismiss this Case with

prejudice only as to Defendant Capgain Properties, Inc., formerly named Big Mojo Capital,

Inc., for the purpose of effectuating a written Settlement Agreement entered pending the

appeal by Capgain Properties, Inc., formerly named Big Mojo Capital, Inc., of said Final

Judgment, and having carefully reviewed the motion before me;




                                                1
Case: 2:17-cv-00006-CDP Doc. #: 129 Filed: 01/28/19 Page: 2 of 2 PageID #: 3177




       IT IS HEREBY ORDERED that the Motion is granted;

       IT IS FURTHER ORDERED that the Final Judgment rendered in this case on

April 6, 2018, Doc. 107, is hereby vacated only as to the Defendant Cap gain Properties, Inc.,

formerly named Big Mojo Capital, Inc.

       IT IS FURTHER ORDERED that this case is dismissed with prejudice only as to

the Defendant Capgain Properties, Inc., formerly named Big Mojo Capital, Inc.




                                               ~
                                             CATHERINED.PERRY
                                             UNITED STATES DISTRICT JUDGE
                                                                           at~
       Dated this   ZS+( day of :::fCLl'\V.. o.fl1 .             , 2019.




                                                 2
